Case 1:16-cv-14348-TLL-PTM ECF No. 10 filed 03/09/17                  PageID.19      Page 1 of 1



                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN

WILLIAM McADAMS,

Plaintiff,                                                          Case #1:16-cv-14348
                                                                    Hon. Thomas L. Ludington
-vs-

DYNAMIC RECOVERY SOLUTIONS, LLC,

Defendant.
__________________________________________/

NOTICE OF VOLUNTARY DISMISSAL AS TO DEFENDANT DYNAMIC RECOVERY
                        SOLUTIONS, LLC

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff, through

his counsel, hereby files this notice, that the above-captioned action be dismissed as to defendant

Dynamic Recovery Solutions, LLC. Pursuant to the aforementioned Rule, this matter is hereby

DISMISSED as to Dynamic Recovery Solutions, LLC. with no award of costs or attorney’s fees to

either party.

Dated: March 9, 2017

__________________________________________
HON. JUDGE THOMAS L. LUDINGTON

Respectfully,
/s/Adam S. Alexander
Adam S. Alexander (P53584)
Andrew R. Mikos (P76268)
THE ALEXANDER LAW FIRM
Attorneys for Plaintiff
17200 W. Ten Mile, Ste. 200
Southfield, MI 48075
(248)246-6353




                                                 1
